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                IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF OKLAHOMA

BOARD OF COUNTY COMMISSIONERS OF    )
COAL COUNTY,                        )
                                    )
      Plaintiff,                    )
                                    )
                                                        19-cv-405-RAW
vs.                                 )       Case No.
                                    )
(1) PURDUE PHARMA, L.P.,            )       (Removal from: District Court of Coal
(2) PURDUE PHARMA INC.,             )       County, Case No. CJ-19-11)
(3) THE PURDUE FREDERICK COMPANY,   )
(4) CEPHALON, INC.,                 )
(5) TEVA PHARMACEUTICAL INDUSTRIES, )
                                    )
     LTD.,
                                    )
(6) TEVA PHARMACEUTICALS USA, INC., )
(7) JANSSEN PHARMACEUTICALS, INC.,  )
(8) JOHNSON & JOHNSON,              )
(9) ORTHO-MCNEIL-JANSSEN            )
     PHARMACEUTICALS, INC.,         )
(10) JANSSEN PHARMACEUTICA, INC.,   )
(11) ENDO HEALTH SOLUTIONS INC.,    )
(12) ENDO PHARMACEUTICALS INC.,     )
(13) ALLERGAN PLC,                  )
(14) ACTAVIS PLC,                   )
(15) WATSON PHARMACEUTICALS, INC.,  )
                                    )
(16) WATSON LABORATORIES, INC.,
                                    )
(17) ACTAVIS PHARMA, INC.,          )
(18) WATSON PHARMA, INC.,           )
(19) ACTAVIS LLC,                   )
(20) MALLINCKRODT PLC,              )
(21) MALLINCKRODT LLC,              )
(22) MCKESSON CORP.,                )
(23) CARDINAL HEALTH, INC.,         )
(24) AMERISOURCEBERGEN DRUG CORP.,  )
(25) ANDA PHARMACEUTICALS, INC.,    )
(26) ANDA, INC.,                    )
(27) GCP PHARMA, LLC,               )
(28) KEYSOURCE MEDICAL, INC,        )
                                    )
(29) MORRIS & DICKSON CO, LLC,
                                    )
(30) QUEST PHARMACEUTICALS, INC,
                                    )
(31) THE HARVARD DRUG GROUP, LLC,   )
(32) PHYSICIANS TOTAL CARE, INC.,   )
(33) CVS HEALTH CORPORATION.,       )
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 (34) CVS PHARMACY, INC.,                             )
 (35) OKLAHOMA CVS PHARMACY, LLC.,                    )
 (36) WALGREENS BOOTS ALLIANCE, INC.                  )
      a/k/a WALGREEN CO.,                             )
 (37) SAJ DISTRIBUTORS,                               )
                                                      )
 (38) H.D. SMITH WHOLESALE DRUG. CO.,
                                                      )
                                                      )
       Defendants.

                                    NOTICE OF REMOVAL

       PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. §§ 1331, 1441, 1446, and 1367,

Defendant McKesson Corporation (“McKesson”), by counsel, hereby gives timely notice of the

removal of this matter from the District Court of Coal County, Oklahoma to this Court. As grounds

for removal, McKesson states as follows:

I.     NATURE OF REMOVED ACTION

       1.      On June 25, 2019, the Board of County Commissioners of Coal County (“Plaintiff”)

filed this action in the District Court of Coal County, State of Oklahoma, titled Board of County

Commissioners of Coal County v. Purdue Pharma L.P., et al. The court designated the case No. CJ-

2019-11.

       2.      The Petition names three groups of defendants.

       3.      The first group of defendants consists of Purdue Pharma L.P.; Purdue Pharma Inc.;

The Purdue Frederick Company Inc.; Cephalon, Inc.; Teva Pharmaceutical Industries Ltd.

(incorrectly named as Teva Pharmaceutical Industries, Ltd.); Teva Pharmaceuticals USA, Inc.;

Janssen Pharmaceuticals, Inc.; Johnson & Johnson; Ortho-McNeil-Janssen Pharmaceuticals, Inc.

n/k/a Janssen Pharmaceuticals, Inc.; Janssen Pharmaceutica, Inc. n/k/a Janssen Pharmaceuticals, Inc.;

Endo Health Solutions Inc.; Endo Pharmaceuticals Inc.; Allergan plc f/k/a Actavis plc; Allergan

Finance, LLC f/k/a Actavis, Inc. f/k/a Watson Pharmaceuticals, Inc. (incorrectly named as Watson




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Pharmaceutical, Inc.); Watson Laboratories, Inc.; Actavis Pharma, Inc. f/k/a Watson Pharma, Inc.;

Actavis LLC; Mallinckrodt plc; and Mallinckrodt LLC (collectively, “Manufacturer Defendants”).

       4.      The second group of defendants consists of McKesson; Cardinal Health, Inc.;

AmerisourceBergen Drug Corporation; Anda Pharmaceuticals, Inc.; Anda, Inc.; GCP Pharma, LLC;

Keysource Medical, Inc.; Morris & Dickson Co., LLC; Quest Pharmaceuticals, Inc.; The Harvard

Drug Group, LLC; Physicians Total Care, Inc.; SAJ Distributors and H.D. Smith Wholesale Drug Co.

(collectively, “Distributor Defendants”).

       5.      The third group of defendants consists of CVS Health Corporation; CVS Pharmacy,

Inc.; Oklahoma CVS Pharmacy, L.L.C.; and Walgreens Boots Alliance, Inc., (collectively,

“Pharmacy Defendants”).

       6.      Plaintiff complains of over-distribution of prescription opioids into Coal County,

alleging that McKesson and the other Distributor Defendants “flood[ed] the market in and around

Plaintiff’s community with highly addictive opioids,” Pet. ¶ 186, and that Distributor Defendants

“knew or should have known that the opioids being diverted from their supply chains would

contribute to the opioid epidemic faced by Coal County . . . .” Id. ¶ 188.

       7.      The Petition asserts five counts against the Distributor Defendants: public nuisance

XQGHU  26 ௗ &RXQW ,  DFWXDO DQG FRQVWUXFWLYH IUDXG &RXQW,,  QHJOLJHQFH DQG QHJOLJHQW

misrepresentation (Count III); civil conspiracy (Count IV); and unjust enrichment (Count V). See Pet.

¶¶ 203-235. The Petition seeks punitive and actual damages. Id. ¶¶ 236, 251-252.

       8.      Although Plaintiff purports to disavow stating a federal question, Pet. ¶ 59, Plaintiff

pleads, among other things, that Distributor Defendants “[are] required to implement and follow

processes that stop suspicious or unusual orders by pharmacies, doctors, clinics, or patients,” id. ¶ 8,

that Distributor Defendants “must create and use a system to identify and report downstream




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suspicious orders of controlled substances to law enforcement,” id. ¶ 165, and that “Distributor

Defendant[s] repeatedly and purposefully breached [these] duties,” id. ¶ 169.

        9.     Because the duties governing reporting and shipping “suspicious” opioid orders arise

from the federal Controlled Substances Act (“CSA”) and its implementing regulations, Plaintiff

pleads that alleged violations of federal law form the basis for its claims.

        10.    On November 15, 2019, McKesson, AmerisourceBergen Drug Corporation, Cardinal

Health, Inc., and the Harvard Drug Group, LLC moved for an enlargement of time to respond to the

Petition through January 20, 2020. The motion was granted by the District Court of Coal County on

November 21, 2019.

        11.    McKesson has not responded to the Petition in state or federal court.

        12.    On December 5, 2017, the Judicial Panel on Multidistrict Litigation (JPML) formed a

multidistrict litigation (MDL) and transferred opioid-related actions to Judge Dan Aaron Polster in

the Northern District of Ohio pursuant to 28 U.S.C. § 1407. See In re Nat’l Prescription Opiate Litig.,

290 F. Supp. 3d 1375 (J.P.M.L. 2015). McKesson intends to tag this case immediately for transfer to

the MDL.

        13.    In accordance with LCvR 81.2, a copy of the state court docket sheet is attached as

Exhibit 1. In accordance with 28 U.S.C. § 1446(a), copies of all documents filed or served upon

McKesson in the state court action are attached as Exhibits 2-51.

II.     TIMELINESS OF REMOVAL

        14.    McKesson was served with the Petition on October 31, 2019.

        15.    In accordance with 28 U.S.C. § 1446(b), this Notice of Removal is timely filed within

30 days of service of Plaintiff’s Petition. See Murphy Bros., Inc. v. Michetti Pipe Stringing, Inc., 526

U.S. 344, 354-56 (1999) (30-day removal period begins to run upon service of summons and

complaint).


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         16.   “If defendants are served at different times, and a later-served defendant files a notice

of removal, any earlier-served defendant may consent to the removal even though that earlier-served

defendant did not previously initiate or consent to removal.” 28 U.S.C. § 1446(b)(2)(C).

III.     PROPRIETY OF VENUE

         17.   Venue is proper in this district under 28 U.S.C. § 1441(a) because the state court

where the suit has been pending is in this district.

IV.      BASIS OF REMOVAL

         18.   Removal is proper pursuant to 28 U.S.C. §§ 1441 and 1331 because Plaintiff’s claims

present a federal question under the CSA, 21 U.S.C. §§ 801, et seq.

         19.   The original jurisdiction of the district courts includes jurisdiction over “all civil

actions arising under the Constitution, laws, or treaties of the United States.” 28 U.S.C. § 1331.

         20.   “Whether a case ‘arises under’ federal law for purposes of § 1331” is governed by the

“well-pleaded complaint rule.” Holmes Grp., Inc. v. Vornado Air Circulation Sys., Inc., 535 U.S. 826,

830 (2002).

         21.   Even when state law creates the causes of action, a complaint may raise a substantial

question of federal law sufficient to warrant removal if “vindication of a right under state law

necessarily turn[s] on some construction of federal law.” Merrell Dow Pharm. Inc., v. Thompson, 478

U.S. 804, 808-09 (1986) (citation omitted); see also Gully v. First Nat’l Bank, 299 U.S. 109, 112

(1936) (“To bring a case within [§ 1441], a right or immunity created by the Constitution or laws of

the United States must be an element, and an essential one, of the plaintiff’s cause of action.”).1



1
  A defendant need not overcome any artificial presumptions against removal or in favor of remand.
In Breuer v. Jim’s Concrete of Brevard, Inc., 538 U.S. 691 (2003), the Supreme Court unanimously
held that the 1948 amendments to the general federal removal statute, 28 U.S.C. § 1441(a), trumped
the Court’s prior teachings in Shamrock Oil & Gas Corp. v. Sheets, 313 U.S. 100 (1941), and its
antecedents, that federal jurisdictional statutes must be strictly construed against any recognition of
federal subject matter jurisdiction, with every presumption indulged in favor of remand. Id. at 697-

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       22.     “[F]ederal jurisdiction over a state law claim will lie if a federal issue is: (1) necessarily

raised, (2) actually disputed, (3) substantial, and (4) capable of resolution in federal court without

disrupting the federal-state balance approved by Congress.” Gunn v. Minton, 568 U.S. 251, 258

(2013); see Grable & Sons Metal Prods., Inc. v. Darue Eng’g & Mfg., 545 U.S. 308, 315 (2005).

“Where all four of these requirements are met . . . jurisdiction is proper because there is a ‘serious

federal interest in claiming the advantages thought to be inherent in a federal forum,’ which can be

vindicated without disrupting Congress’s intended division of labor between state and federal courts.”

Gunn, 568 U.S. at 258 (quoting Grable, 545 U.S. at 313-14).

       23.     As set forth below, this case meets all four requirements.2

       24.     Although Plaintiff ostensibly pleads some of its theories of recovery against

McKesson as state law claims, it bases the underlying theory of liability on McKesson’s alleged

violations of federal law or alleged duties arising out of federal law, specifically the CSA, i.e., that a

portion of its otherwise lawful shipments of prescription opioids were unlawful because they were




98 (“[W]hatever apparent force this argument [of strict construction against removal] might have
claimed when Shamrock was handed down has been qualified by later statutory development. . . .
Since 1948, therefore, there has been no question that whenever the subject matter of an action
qualifies it for removal, the burden is on a plaintiff to find an express exception.” (emphasis added));
see also Exxon Mobil Corp. v Allapattah Servs., Inc., 545 U.S. 546, 558 (2005) (construing 1990
enactment of 28 U.S.C. § 1367, authorizing supplemental federal subject matter jurisdiction, and
holding: “We must not give jurisdictional statutes a more expansive interpretation than their text
warrants; but it is just as important not to adopt an artificial construction that is narrower than what
the text provides . . . Ordinary principles of statutory construction apply.” (citation omitted)).
More recently, a unanimous Supreme Court in Mims v. Arrow Financial Services, LLC held:
“Divestment of district court jurisdiction should be found no more readily than divestment of state
court jurisdiction, given the longstanding and explicit grant of federal question jurisdiction in 28
U.S.C. § 1331.” 565 U.S. 368, 379 (2012) (brackets, citations, and internal quotation marks omitted).
2
  The substantiality inquiry as it pertains to federal question jurisdiction is distinct from the merits of
the case and has no bearing on the strength of Plaintiff’s underlying claims. See Gunn, 568 U.S. at
260 (“The substantiality inquiry under Grable looks . . . to the importance of the issue to the federal
system as a whole.”).

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shipped in fulfillment of suspicious orders that McKesson allegedly had a duty to identify, report, and

then not ship.

       25.       The source of the asserted legal duty to monitor and report suspicious orders of

controlled substances is the CSA, 21 U.S.C. §§ 801, et seq., and its implementing regulations. The

source of the asserted legal duty to suspend shipments of suspicious orders is 21 U.S.C. § 823(b) and

(e), as interpreted by the Drug Enforcement Administration (“DEA”) of the United States Department

of Justice. Specifically, DEA interprets the public interest factors for registering distributors under

the CSA, 21 U.S.C. § 823(b) and (e), to impose a responsibility on distributors to exercise due

diligence to avoid filling suspicious orders that might be diverted to unlawful uses. See Masters

Pharm., Inc. v. DEA, 861 F.3d 206, 212-13 (D.C. Cir. 2017) (citing In re Southwood Pharm., Inc.,

Revocation of Registration, 72 Fed. Reg. 36,487, 36,501, 2007 WL 1886484 (DEA July 3, 2007), as

source of DEA’s “Shipping Requirement”).

       26.       Plaintiff’s theories of liability against McKesson and other Distributor Defendants, as

pleaded in the Petition, are predicated on allegations that McKesson and Distributor Defendants

breached alleged duties under the CSA to implement effective controls to detect and report

“suspicious” pharmacy orders for prescription opioids and—crucial to Plaintiff’s claims—to refuse

to ship such orders to Oklahoma pharmacies.

       27.       Specifically, Plaintiff invokes federal law and pleads that McKesson and the other

Distributor Defendants violated federal law with, among others, the following allegations:

                 a.     “The prescription drug industry is required by law to secure and monitor

                        opioids at every step in the stream of commerce, thereby protecting opioids

                        from theft, misuse, and diversion. The industry is required to implement and

                        follow processes that stop suspicious or unusual orders by pharmacies, doctors,

                        clinics, or patients.” Pet. ¶ 8.


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                b.      “The DEA has provided guidance to distributors to combat opioid diversion.

                        On information and belief, since 2006 the DEA has conducted one-on-one

                        briefings with distributors regarding downstream customer sales, due

                        diligence, and regulatory responsibilities . . . . On September 27, 2006, and

                        December 27, 2007, the DEA Office of Diversion Control sent letters to all

                        registered distributors providing guidance on suspicious order monitoring and

                        the responsibilities and obligations of registrants to prevent diversion.” Pet. ¶¶

                        173-74.

                c.      “As part of the legal obligation to maintain effective controls against diversion,

                        the distributor is required to exercise due care in confirming the legitimacy of

                        each and every order prior to filling . . . . Suspicious orders must be reported

                        when discovered. Registrants must perform an independent analysis of a

                        suspicious order prior to the sale to determine if the controlled substances

                        would likely be diverted. Filling a suspicious order and then completing the

                        sale does not absolve the registrant from legal responsibility.” Pet. ¶¶ 175-76.

          28.   In its Petition, Plaintiff fails to specifically identify a state law source for a requirement

that wholesale pharmaceutical distributors owe a duty to “stop suspicious or unusual orders[,]” Pet.

¶ 8, or “terminate orders” of controlled substances from registered pharmacies. Id. ¶ 165. While

Plaintiff cites generally to the Oklahoma Uniform Controlled Dangerous Substances Act, 63 O.S.

§§ 2-101 et seq., and the Oklahoma Administrative Code, it fails to identify any specific provision of

these state laws that would require distributors to halt suspicious or unusual orders of prescription

opioids. Thus, Plaintiff’s claims against Distributor Defendants, as Plaintiff pleads them, raise federal

issues.




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       29.     Plaintiff’s theory of liability also relies on an expansive reading of federal law that

calls into question an agency determination. Plaintiff alleges not only that Distributor Defendants

should have detected and reported discrete suspicious orders by their respective individual pharmacy

customers, but that Distributor Defendants should have recognized that the total volume of

prescription opioids distributed by all wholesalers to various regions was suspicious or unreasonable.

See, e.g., Pet. ¶ 182 (“Each Distributor Defendant knew or should have known… that the amount of

opioids flowing to Coal County was far in excess of what could be consumed for medically necessary

purposes.”); id. ¶ 189 (“[Distributor Defendants] nevertheless persisted in a pattern of distributing

commonly abused and diverted opioids in geographic areas in such quantities, and with such

frequency that they knew or should have known these commonly abused controlled substances were

not being prescribed and consumed for legitimate medical purposes.”).

       30.     To succeed on that theory, Plaintiff would thus have to show that the total quantity of

prescription opioids that all pharmaceutical distributors distributed was excessive or unreasonable.

However, the total amount of prescription opioids distributed in any given year turns on annual

aggregate production quotas established by DEA. Specifically, DEA must “determine the total

quantity of each basic class of controlled substance listed in Schedule I or II necessary to be

manufactured during the following calendar year to provide for the estimated medical, scientific,

research and industrial needs of the United States, for lawful export requirements, and for the

establishment and maintenance of reserve stocks.” 21 C.F.R. § 1303.11(a). In making this

determination, DEA must consider “[p]rojected demand” for such substances. 21 C.F.R.

§ 1303.11(b). Thus, to show that the total quantity of prescription opioids that Distributor Defendants




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distributed was unreasonable, Plaintiff would have to show that the annual aggregate production

quotas set by DEA, pursuant to a federal statute, were themselves unreasonable.3

        31.     The federal question presented by Plaintiff’s claims therefore is “(1) necessarily raised,

(2) actually disputed, (3) substantial, and (4) capable of resolution in federal court without disrupting

the federal-state balance approved by Congress.” Gunn, 568 U.S. at 258.

        32.     First, Plaintiff’s state law claims “necessarily raise” a federal question because “the

right to relief depends upon the construction or application of federal law.” PNC Bank, N.A. v. PPL

Elec. Util. Corp., 189 F. App’x 101, 104 n.3 (3d Cir. 2006) (internal quotations and citation omitted);

see also North Carolina ex rel. N.C. Dep’t of Admin. v. Alcoa Power Generating, Inc., 853 F.3d 140,

146 (4th Cir. 2017) (“Regardless of the allegations of a state law claim, ‘where the vindication of a

right under state law necessarily turns on some construction of federal law,’ the claim arises under

federal law and thus supports federal question jurisdiction under 28 U.S.C. § 1331.” (alteration

omitted)); V.I. Hous. Auth. v. Coastal Gen. Constr. Servs. Corp., 27 F.3d 911, 916 (3d Cir. 1994)

(“[A]n action under 28 U.S.C. § 1331(a) arises only if the complaint seeks a remedy expressly granted

by federal law or if the action requires construction of a federal statute, or at least a distinctive policy

of a federal statute requires the application of federal legal principles” (emphasis added)).

        33.     As pleaded, Plaintiff’s claims against McKesson and the other Distributor Defendants

require Plaintiff to establish that Distributor Defendants breached duties under federal law by failing

to stop shipments of otherwise lawful orders of controlled substances into Oklahoma.




3
  Moreover, 21 U.S.C. § 827(d)(1) requires Distributor Defendants to report to DEA “every sale,
delivery or other disposal” by them of prescription opioids. In other words, it has been the case for
years that each Distributor Defendant has reported to DEA the total volume of prescription opioids it
distributed. To succeed on its theory of liability that Distributor Defendants should have recognized
and reported that the total volume of prescription opioids was unreasonable, Plaintiff would have to
show that Distributor Defendants’ existing reporting to DEA was inadequate.

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       34.     For example, in pleading public nuisance (Count I), Plaintiff alleges that Distributor

Defendants “have intentionally, recklessly, or negligently engaged in conduct or omissions which

endanger or injury the property, health, safety and/or comfort of a considerable number of persons in

Coal County by their production, promotion, and marketing of opioids for use by residents of Coal

County.” Pet. ¶ 204. However, the only allegedly reckless or negligent conduct that Plaintiff

elsewhere attributes to Distributor Defendants is their alleged failure to report and halt shipments of

suspicious orders. Likewise, in pleading negligence (Count III), Plaintiff alleges that Distributor

Defendants “had a legal duty to act with the exercise of ordinary care or skill to prevent injury to

another” and that they “breached this duty through their deceptive marketing campaign, distributions

of opioids, and failure to divert opioids from illicit channels.” Id. ¶¶ 223-224. And as noted, the

alleged duty to halt or “terminate” shipments of suspicious orders arises under the federal CSA. See

Benjamin v. S.C. Elec. & Gas Co., No. 3:16-CV-01141-JMC, 2016 WL 3180100, at *5 (D.S.C. June

8, 2016) (“While Plaintiffs’ allegations of negligence appear on their face to not reference federal

law, federal issues are cognizable as the source for the duty of care resulting from [the defendant’s

conduct].”). Thus, though plaintiffs are masters of their complaints, and they “may avoid federal

jurisdiction by exclusive reliance on state law,” Caterpillar, Inc. v. Williams, 482 U.S. 386, 392 (1987)

(emphasis added), Plaintiff here alleges violations of federal law as the basis for its state-law claims.4




4
 Furthermore, it is not necessary for federal jurisdiction that McKesson establish that all of Plaintiff’s
counts against it raise a federal question. Even if Plaintiff could prove one or more of those counts
without establishing a violation of federal law, this Court still has federal-question jurisdiction:
“Nothing in the jurisdictional statutes suggests that the presence of related state law claims somehow
alters the fact that [the] complaints, by virtue of their federal claims, were ‘civil actions’ within the
federal courts’ ‘original jurisdiction.’” City of Chicago v. Int’l College of Surgeons, 522 U.S. 156,
166 (1997).
Because the Court has original jurisdiction over at least one count here, it has supplemental
jurisdiction over Plaintiff’s remaining counts against McKesson and the other Distributor Defendants,
which are so related that they “form part of the same case or controversy.” 28 U.S.C. § 1367(a).

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          35.   In sum, the Petition necessarily raises a federal issue—namely, whether Distributor

Defendants violated the CSA by failing to prevent or halt suspicious orders for prescription opioids.

          36.   Second, this federal issue is “actually disputed” because the parties disagree as to the

scope of alleged duties arising under the CSA and whether Distributor Defendants violated their

duties that, as Plaintiff pleads them, arise only under the CSA. Indeed, this federal issue is the “central

point of dispute.” Gunn, 568 U.S. at 259.

          37.   Third, the federal issue presented by Plaintiff’s claims is “substantial.” “The

substantiality inquiry under Grable looks . . . to the importance of the issue to the federal system as a

whole.” Gunn, 568 U.S. at 260. Among other things, the Court must assess whether the federal

government has a “strong interest” in the federal issue at stake and whether allowing state courts to

resolve the issue will “undermine the development of a uniform body of [federal] law.” Id. at 260-62

(internal quotation and citation omitted). As the Supreme Court explained in Grable, “[t]he doctrine

captures the commonsense notion that a federal court ought to be able to hear claims recognized under

state law that nonetheless turn on substantial questions of federal law, and thus justify resort to the

experience, solicitude, and hope of uniformity that a federal forum offers on federal issues.” 545 U.S.

at 312.

          38.   Plaintiff’s theories of Distributor Defendants’ liability necessarily require that a court

determine the existence and scope of Distributor Defendants’ obligations under federal law because

regulation of controlled substances is first and foremost federal regulation. Indeed, Congress designed

the CSA with the intent of reducing illegal diversion of controlled substances, “while at the same time

providing the legitimate drug industry with a unified approach to narcotic and dangerous drug

control.” H.R. Rep. No. 1444, 91st Cong., 2nd Sess. 1970, as reprinted in 1970 U.S.C.C.A.N. 4566,

4571-72.




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       39.     Plaintiff’s theories of Distributor Defendants’ liability thus “involve aspects of the

complex federal regulatory scheme applicable to” the national prescription drug supply chain, Broder

v. Cablevision Sys. Corp., 418 F.3d 187, 195 (2d Cir. 2005), and are “sufficiently significant to the

development of a uniform body of [controlled substances] regulation to satisfy the requirement of

importance to the federal system as a whole,” NASDAQ OMX Grp., Inc. v. UBS Sec., LLC, 770 F.3d

1010, 1024 (2d Cir. 2014). The CSA itself notes that “illegal importation, manufacture, distribution,

and possession and improper use of controlled substances have a substantial and detrimental effect

on the health and general welfare of the American people” and that “[f]ederal control of the intrastate

incidents of the traffic in controlled substances is essential to the effective control of the interstate

incidents of such traffic.” 21 U.S.C. § 801. Furthermore, “minimizing uncertainty over” reporting

obligations under the CSA “fully justifies resort to the experience, solicitude, and hope of uniformity

that a federal forum offers on federal issues.” New York ex rel. Jacobson v. Wells Fargo Nat’l Bank,

N.A., 824 F.3d 308, 317-18 (2d Cir. 2016); see also PNC Bank, N.A., 189 F. App’x at 104 n.3 (state

law claim “raises a substantial federal question-the interpretation of” a federal statute “over which the

District Court properly exercised removal jurisdiction”).

       40.     Plaintiff’s attempt to enforce the CSA raises a substantial federal question even though

the CSA does not provide for a private right of action. In 2005, the Supreme Court held in Grable

that the lack of a federal cause of action does not foreclose federal-question jurisdiction. The Court

stated that applying Merrell Dow too narrowly would both “overturn[ ] decades of precedent,” and

“convert[ ] a federal cause of action from a sufficient condition for federal-question jurisdiction into

a necessary one.” Grable, 545 U.S. at 317; see also e.g., Safe Streets All. v. Hickenlooper, 859 F.3d

865, 897 (10th Cir. 2017) (“[Plaintiff’s] attempts to privately enforce the CSA in this manner raise,

at minimum, substantial question[s] of federal law on the merits . . .”); Nicodemus v. Union Pac.

Corp., 440 F.3d 1227, 1236–37 (10th Cir. 2006) (noting that the existence of a federal cause of action


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“is not dispositive[,]” and finding state law claims based on a dispute over the scope of rights under

federal land-grant statute to satisfy Grable despite the lack of a private right of action); Ranck v. Mt.

Hood Cable Regulatory Comm’n, 2017 WL 1752954, at *4-5 (D. Or. May 2, 2017) (state law claims

based on violations of Cable Communications Policy Act raise substantial federal questions and

satisfy Grable even though no private right of action exists under Act).

       41.     Removal is particularly appropriate here because Plaintiff’s action is but one of more

than 2,000 similar actions pending in the MDL in the Northern District of Ohio. Indeed, Plaintiff

pleads that both the “opioid epidemic” and the alleged improper distribution of prescription opioids

by McKesson and other Distributor Defendants are “national” problems. See, e.g., Pet. ¶¶ 65-67

(characterizing the “addiction to opioids” as “a serious national crisis” that stems from Defendants’

alleged wrongful conduct) (emphasis added) (quotation marks omitted). The MDL judge, Judge

Polster, is attempting to achieve a national solution to this nationwide problem.5

       42.     Fourth, and finally, the federal issue also is capable of resolution in federal court

“without disrupting the federal-state balance approved by Congress.” Gunn, 568 U.S. at 258. Federal

courts exclusively hear challenges to DEA authority to enforce the CSA against distributors and

litigating this case in state court runs the risk of the state court interpreting or applying federal

requirements inconsistently with the manner in which the federal agency tasked with enforcing the

CSA—the DEA—interprets and applies them. Federal jurisdiction is therefore “consistent with

congressional judgment about the sound division of labor between state and federal courts governing

the application of § 1331.” PNC Bank, N.A., 189 F. App’x at 104 n.3.




5
  Less than two months after the MDL was created, Judge Polster convened the first day-long
settlement conference on January 31, 2018. Judge Polster required attendance by party representatives
and their insurers and invited attendance by Attorneys General and representatives of the DEA and
FDA.

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        43.    In summary, removal of this action is appropriate because Plaintiff’s “state-law

claim[s] necessarily raise a stated federal issue, actually disputed and substantial, which a federal

forum may entertain without disturbing any congressionally approved balance of federal and state

judicial responsibilities.” Grable, 545 U.S. at 314; see also, e.g., Gilmore v. Weatherford, 694 F.3d

1160, 1176 (10th Cir. 2012) (“Although plaintiffs could lose their conversion claim without the court

reaching the federal question, it seems that they cannot win unless the court answers that question.

Thus, plaintiffs’ ‘right to relief necessarily depends on resolution of a substantial question of federal

law.’” (citation omitted)); Nicodemus v. Union Pac. Corp., 440 F.3d 1227, 1237 (10th Cir. 2006)

(state law claims based on dispute over scope of rights under federal land grant statutes raise a

“dispositive and contested federal issue” that satisfies Grable); PNC Bank, N.A. 189 F. App’x at 104

n.3 (state law claim based on violation of Internal Revenue Code “gives rise to federal-question

jurisdiction” under Grable); New York ex rel. Jacobson, 824 F.3d at 315-18 (state law claims based

on defendant’s alleged violation of Internal Revenue Code satisfy Grable); NASDAQ OMX Grp., Inc.,

770 F.3d at 1031 (state law claims premised on violations of Exchange Act “necessarily raise disputed

issues of federal law of significant interest to the federal system as a whole”); Broder, 418 F.3d at

196 (state law claims premised on cable provider’s alleged violations of Communication Act’s

uniform rate requirement satisfy “Grable test for federal-question removal jurisdiction”).

        44.    To the extent that the Court determines that some, but not all, of Plaintiff’s claims state

a substantial federal question, the Court can evaluate whether to retain the non-federal claims against

the Manufacturer Defendants, Distributor Defendants and Pharmacy Defendants under the doctrine

of supplemental jurisdiction, 28 U.S.C. § 1367(a).

V.      OTHER REMOVAL ISSUES

        45.    Pursuant to 28 U.S.C. § 1446(b)(2)(A), all defendants that have been properly

joined and served consent to removal.


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       46.     The following Defendants have been served, or accepted service, in this action

and consent to removal, as indicated by their counsel’s signatures below: Purdue Pharma L.P.; Purdue

Pharma Inc.; The Purdue Frederick Company Inc.;6 Johnson & Johnson; Janssen Pharmaceuticals,

Inc.; Ortho-McNeil-Janssen Pharmaceuticals, Inc. n/k/a Janssen Pharmaceuticals, Inc.; Janssen

Pharmaceutica, Inc. n/k/a Janssen Pharmaceuticals, Inc.; Endo Health Solutions Inc.; Endo

Pharmaceuticals Inc.; Mallinckrodt LLC; Cardinal Health, Inc.; AmerisourceBergen Drug Corp.;

Watson Laboratories, Inc.; Actavis LLC; Actavis Pharma, Inc. f/k/a Watson Pharma, Inc.; Cephalon,

Inc.; Teva Pharmaceuticals USA, Inc.; Anda, Inc.; Anda Pharmaceuticals, Inc.; Morris & Dickson

Co, LLC; The Harvard Drug Group, LLC; Quest Pharmaceuticals, Inc.; CVS Health Corporation;

CVS Pharmacy, Inc.; Oklahoma CVS Pharmacy, L.L.C.; Walgreens Boots Alliance, Inc.; and H.D.

Smith Wholesale Drug Co. The Defendants listed in this paragraph expressly reserve, and do not

waive, all available defenses, including lack of personal jurisdiction.




6
  On September 15, 2019, Purdue and its affiliated debtors filed voluntary bankruptcy petitions for
relief under Chapter 11 of the U.S. Bankruptcy Code in the U.S. Bankruptcy Court for the Southern
District of New York. The case is docketed as In re Purdue Pharma L.P., No. 19-23649, and is
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the bankruptcy petition operates as a stay as to Defendants Purdue Pharma L.P. and Purdue Pharma
Inc. (the “Purdue Debtors”). Moreover, on October 11, 2019, Judge Drain issued an Order pursuant
to 11 U.S.C. § 105(a), which was amended on October 18, 2019, enjoining the commencement or
continuation of litigation against the Purdue Debtors and certain related parties (including The Purdue
Frederick Company Inc.) through November 6, 2019. On November 6, 2019, Judge Drain extended
the injunction to April 8, 2020. See Not. of Suggestion of Bankr. & Auto. Stay of Proceedings at 1
(Sept. 16, 2019); Order Pursuant to 11 U.S.C. § 105(a) Granting, In Part, Motion for Preliminary
Injunction, In re Purdue Pharma L.P., et al., No. 19-08289-rdd, Dkt. 82 (Bankr. S.D.N.Y. Oct. 11,
2019), amended, Dkt. 89 (Bankr. S.D.N.Y. Oct. 18, 2019); Second Amended Order Pursuant to 11
U.S.C. § 105(a) Granting Motion for a Preliminary Injunction, In re Purdue Pharma L.P., et al., No.
19-08289-rdd, Dkt. 105 (Bankr. S.D.N.Y. Nov. 6, 2019). To the extent consent of the Purdue Debtors
and The Purdue Frederick Company Inc. is required, they consent to removal. By consenting to
removal, none of the defendants waive any right or defense and expressly reserve them, including in
connection with the Bankruptcy Court’s stay as well as all rights and defenses in this action, including
lack of personal jurisdiction.

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       47.     For the following Defendants, service was not attempted, was not effected, or was

otherwise improper, and thus their consent to removal is not required: Allergan plc f/k/a Actavis plc;

Allergan Finance, LLC f/k/a Actavis, Inc. f/k/a Watson Pharmaceuticals, Inc.; Keysource Medical,

Inc.; GCP Pharma, LLC.; Mallinckrodt plc; Teva Pharmaceutical Industries Ltd.7 Nevertheless, they

consent to removal. These Defendants expressly reserve all rights and defenses, including those

related to personal jurisdiction and service of process.

       48.     SAJ Distributors is the business name associated with a line of health and beauty

products, none of which contain prescription pharmaceuticals, that was sold by Stephen L. LaFrance

Pharmacy, Inc. to L&R Distributors, Inc. in 2012. SAJ Distributors is not a registered corporation,

has never operated as a corporation, and has no assets. As a nonfunctioning entity with no assets, SAJ

Distributors is a nominal and fraudulently joined defendant whose consent to removal is not required.

See Maryland v. Exxon Mobil Corp., 352 F. Supp. 3d 435, 470 (D. Md. 2018), as amended (Nov. 21,

2018). To the extent that the consent of L&R Distributors is required, L&R Distributors consents to

removal. To be clear, L&R Distributors was not named as a defendant in this action, and does not

concede that it is a proper party to this action. Furthermore, L&R Distributors expressly reserves, and

does not waive, all rights and defenses, including those related to personal jurisdiction and service of

process.

       49.     Physicians Total Care, Inc. is a suspended Oklahoma corporation which filed

bankruptcy in 2012 and had all its assets sold in 2015. As a suspended corporation, service on the

Oklahoma Secretary of State is not valid service. Johnson v. McDaniel, 1977 OK 167, 569 P.2d 977,

981 n. 4 (“Although service was had through the Secretary of State on Target Drilling Company, the


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  Teva Pharmaceutical Industries Ltd. (“Teva Ltd.”), Allergan plc f/k/a Actavis plc, and Mallinckrodt
plc are foreign companies and are not subject to personal jurisdiction in the United States. Teva Ltd.,
Allergan plc f/k/a Actavis plc, and Mallinckrodt plc expressly reserve all defenses, including those
related to personal jurisdiction and service of process.

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allegation this constituted notice to McDaniel is without support. Target was defunct, no longer in

operation and such service may not be considered as effective as to McDaniel.”). Thus its consent to

removal is not required. Furthermore, because Physicians Total Care is a defunct business entity, it is

also a nominal and fraudulently joined defendant whose consent to removal is not required. See Exxon

Mobil Corp., 352 F. Supp. 3d at 470 (collecting cases in which courts “have found that a defunct

corporation is a nominal party for purposes of removal consent”).

       50.     By filing this Notice of Removal, neither McKesson nor any other Defendant waives

any defense that may be available to them, and Defendants expressly reserve all such defenses,

including those related to personal jurisdiction and service of process.

       51.     If any question arises as to propriety of removal to this Court, McKesson requests the

opportunity to present a brief and oral argument in support of its position that this case has been

properly removed.

       52.     Pursuant to 28 U.S.C. § 1446(d), McKesson will promptly file a copy of this

Notice of Removal with the clerk of the state court where the lawsuit has been pending and serve

notice of the filing of this Notice of Removal on Plaintiff.

       53.     McKesson reserves the right to amend or supplement this Notice.

       WHEREFORE, McKesson removes this action from the District Court of Coal County, State

of Oklahoma, Case No. CJ-2019-11, to this Court.


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                                 CERTIFICATE OF SERVICE

       I hereby certify that the following parties are being served with a copy of this document on
November 26, 2019, in accordance with the Federal Rules via CM/ECF, via email, or via mail,
postage pre-paid.

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